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                                                                                                   EXHIBIT 6
                  663-25-01-00 21508   4 C 001 30 S   66 002
                  A L L I A N C E ENERGY PARTNERS LLC
                  9 8 2 3 F R I E S I A N ESTATES DR
                  SPRING TX           77379-1412




   Your account statement                                                            Contact us
                                                                                                                         (844) 4TRUIST or
   For 04/29/2022                                                                              Truist.com                (844) 487-8478




     ANALYZED CHECKING 1440003583728
   Account summary
   Your previous balance as of 03/31/2022                    $4,089,240.09
   Checks                                                        - 23,610.95
   Other withdrawals, debits and service charges             - 3,113,649.44
   Deposits, credits and interest                            + 2,703,339.31
   Your new balance as of 04/29/2022                       = $3,655,319.01

   Checks
   DATE        CHECK #                 AM OUN T($ )        DATE        CHECK #   AMO UNT($ )         DATE      CHECK #           AMO UNT($)
   04/04       1026                      2,350.25          04/25       1030          420.41          04/05     1031               20,484.15
   04/11     * 1029                        356.14
   * indicates a skip in sequential check numbers above this item                                   Total checks              = $23,610.95

   Other withdrawals, debits and service charges
   DATE      DESCR IPTIO N                                                                                                       AM OUN T($ )
   04/01     PC NON-REPETITIVE WIRE WIRE REF# 20220401-00018641                                                                 960,515.25
   04/01     ACH SETTLEMENT                                                                                                      89,405.81
   04/04     DEBIT CARD RECURRING PYMT MSFT * E0600I5XVV 04-02 MSBILL.INFO WA 9527                                                    13.54
   04/04     ACH CORP DEBIT ACH PMT AMEX EPAYMENT Alliance Energy PartneCUSTOMER ID W6830                                         3,147.66
   04/04     ACH CORP DEBIT ACH PMT AMEX EPAYMENT Alliance Energy PartneCUSTOMER ID W5362                                        16,453.93
   04/04     ACH SETTLEMENT                                                                                                         733.65
   04/04     ACH SETTLEMENT                                                                                                       5,632.98
   04/04     ACH SETTLEMENT                                                                                                        7,186.72
   04/06     INTERNET PAYMENT WEB PMTS EMBREY-120002 3T58L9                                                                       2,348.69
   04/06     PC NON-REPETITIVE WIRE WIRE REF# 20220406-00028197                                                                  65,000.00
   04/06     ACH SETTLEMENT                                                                                                     338,562.54
   04/08     M-APP TRANSFER TRANSFER TO CHECKING 1440003583493 04-08-22                                                          30,000.00
   04/11     ACH CORP DEBIT Auto Pay MBFS.COM BBT CUSTOMER ID 5002015603                                                          4,294.73
   04/12     PC INTL USD WIRE WIRE REF# 20220412-00027264                                                                       115,824.00
   04/13     ACH CORP DEBIT ALLY PAYMT ALLY Alliance Energy CUSTOMER ID 0091747751/001                                              859.55
   04/14     DEBIT CARD RECURRING PYMT MSFT * E0100I8QTE 04-14 MSBILL.INFO WA 9527                                                    13.53
   04/14     CM ON-LINE ACCT TRANSFER TRANSFER TO CHECKING 1440017595958 04-14-22                                                 7,000.00
   04/14     ACH SETTLEMENT                                                                                                      30,000.00
   04/14     ACH SETTLEMENT                                                                                                     389,728.13
   04/15     ACH CORP DEBIT USATAXPYMT IRS ALLIANCE ENERGY PARTNE CUSTOMER ID 225250551931755                                     2,153.46
   04/18     ACH     ALERT 360 5009 ALLIANCE ENERGY                                                                                   59.48
   04/18     ACH SETTLEMENT                                                                                                      94,802.00
   04/20     ACH SETTLEMENT                                                                                                      32,032.54
                                                                                                                                  continued


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  ANALYZED CHECKING 1440003583728
              Case 25-30155       (continued)
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DATE     DESCR IPTIO N                                                                                   AM OUN T($ )
04/21     DEBIT CARD RECURRING PYMT SLACK T01FG9DHCGL 04-20 HTTPSSLACK.CO CA 9527                             55.84
04/21     SERVICE CHARGES - PRIOR PERIOD                                                                     112.05
04/22     ACH CORP DEBIT INSURANCE FIRST INSURANCE Alliance Energy PartneCUSTOMER ID 900-95775938          9,926.23
04/22     ACH SETTLEMENT                                                                                  14,000.00
04/22     ACH SETTLEMENT                                                                                 389,461.40
04/25     ACH CORP DEBIT OBPPAYMT HEALTH CARE SERV ALLIANCE ENERGY PARTNE CUSTOMER ID                     16,985.68
          5062170582
04/25     ACH SETTLEMENT                                                                                   25,694.00
04/25     ACH SETTLEMENT                                                                                   27,976.00
04/27     CM ON-LINE ACCT TRANSFER TRANSFER TO CHECKING 1440017595958 04-27-22                              5,000.00
04/27     ACH SETTLEMENT                                                                                   28,830.00
04/28     ACH SETTLEMENT                                                                                  374,701.83
04/29     ACH CORP DEBIT USATAXPYMT IRS ALLIANCE ENERGY PARTNE CUSTOMER ID 225251901831926                  3,554.40
04/29     ACH SETTLEMENT                                                                                   21,583.82
Total other withdrawals, debits and service charges                                                 = $3,113,649.44

Deposits, credits and interest
DATE     DESCR IPTIO N                                                                                   AM OUN T($ )
04/04    REFUND PROG COUNTY MUT 2068 ALLIANCE EN ERGY PARTN                                                   165.00
04/05    PAYMENT COLGATE OPERATIN P002 ALLIANCE ENERGY PARTNE                                             46,500.00
04/12    PAYMENT COLGATE OPERATIN P002 ALLIANCE ENERGY PARTNE                                             615,358.13
04/19    PAYMENT COLGATE OPERATIN P002 ALLIANCE ENERGY PARTNE                                            909,873.67
04/29    PAYMENT COLGATE OPERATIN P002 ALLIANCE ENERGY PARTNE                                           1,131,442.51
Total deposits, credits and interest                                                                = $2,703,339.31
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   Questions, comments or errors?
   For general questions/comments or to report errors about your statement or                have stopped someone from making electronic transfers without your permission if
   account, please call us at 1-844-4TRUIST (1-844-487-8478) 24 hours a day, 7 days          you had told us, you could lose as much as $500. Also, if your periodic statement
   a week. Truist Contact Center teammates are available to assist you from 8am              shows transfers you did not make, tell us at once. If you do not tell us within sixty (60)
   8pm EST Monday-Friday and 8am 5pm EST on Saturday. You may also contact                   days after the statement was mailed to you, you may not get back any money you lost
   your local Truist branch. To locate a Truist branch in your area, please visit            after sixty (60) days if we can prove we could have stopped someone from taking the
   Truist.com.                                                                               money if you had told us in time.

   Electronic fund transfers (For Consumer Accounts Only. Commercial Accounts                Important information about your Truist Ready Now Credit Line Account
   refer to the Commercial Bank Services Agreement.)                                         Once advances are made from your Truist Ready Now Credit Line Account, an
   Services such as Bill Payments and Zelle® are subject to the terms and conditions         INTEREST CHARGE will automatically be imposed on the account's outstanding
   governing those services, which may not provide an error resolution process in all        “Average daily balance.” The INTEREST CHARGE is calculated by applying the “Daily
   cases. Please refer to the terms and conditions for those services.                       periodic rate” to the ‘Average daily balance” of your account (including current
                                                                                             transactions) and multiplying this figure by the number of days in the billing cycle. To
   In case of errors or questions about your electronic fund transfers, if you think your    get the “Average daily balance,” we take the beginning account balance each day, add
   statement or receipt is wrong or if you need more information about a transfer on         any new advances or debits, and subtract any payments or credits and the last unpaid
   the statement or receipt, IMMEDIATELY call 1-844-487-8478 or write to:                    INTEREST CHARGE. This gives us the daily balance. Then we add all of the daily
                               Fraud Management                                              balances for the billing cycle and divide the total by the number of days in the billing
                               P.O. Box 1014                                                 cycle. This gives us the ‘Average daily balance.”
                               Charlotte, NC 28201
   Tell us as soon as you can, if you think your statement or receipt is wrong, or if you    Billing Rights Summary
   need more information about a transfer listed on the statement or receipt. We             In case of errors or questions about your Truist Ready Now Credit Line statement
   must hear from you no later than sixty (60) days after we sent the FIRST statement        If you think your statement is incorrect, or if you need more information about a Truist
   on which the problem or error appeared.                                                   Ready Now Credit Line transaction on your statement, please call 1-844-4TRUIST or
   • Tell us your name and deposit account number (if any)                                   visit your local Truist branch. To dispute a payment, please write to us on a separate
   • Describe the error or transfer you are unsure of, and explain as clearly as you can     sheet of paper at the following address:
        why you believe it is an error or why you need more information                                               Card and Direct to Consumer Lending
   • Tell us the dollar amount of the suspected error                                                                 PO Box 200
    If you tell us orally, we may require that you also send us your complaint or                                     Wilson NC 27894-0200
    question in writing within ten (10) business days. We will tell you the results of our   We must hear from you no later than sixty (60) days after we sent you the FIRST
    investigation within ten (10) business days after we hear from you, and we will          statement on which the error or problem appeared. You may telephone us, but doing
    correct any error promptly. If we need more time, however, we may take up to             so will not preserve your rights. In your letter, please provide the following
    forty-five (45) days to investigate your complaint or questions for ATM                  information:
    transactions made within the United States and up to ninety (90) days for new            • Your name and account number
    accounts, foreign initiated transactions and point-of-sale transactions. If we decide    • Describe the error or transfer you are unsure about, and explain in detail why you
    to do this, we will re-credit your account within ten (10) business days for the             believe this is an error or why you need more information
    amount you think is in error, minus a maximum of $50. If we ask you to put your          • The dollar amount of the suspected error
    complaint in writing, and we do not receive it within ten (10) business days, we may     During our investigation process, you are not responsible for paying any amount in
    not re-credit your account and you will not have use of the money during the time        question; you are, however, obligated to pay the items on your statement that are not
    it takes us to complete our investigation.                                               in question. While we investigate your question, we cannot report you as delinquent
                                                                                             or take any action to collect the amount in question.
   Tell us AT ONCE if you believe your access device has been lost or stolen, or
   someone may have electronically transferred money from your account without               Mail-in deposits
   your permission, or someone has used information from a check to conduct an               If you wish to mail a deposit, please send a deposit ticket and check to your local Truist
   unauthorized electronic fund transfer. If you tell us within two (2) business days        branch. Visit Truist.com to locate the Truist branch closest to you. Please do not send
   after you learn of the loss or theft of your access device or the unauthorized            cash.
   transaction, you can lose no more than $50 if someone makes electronic transfers
   without your permission.                                                                  Change of address
                                                                                             If you need to change your address, please visit your local Truist branch or call Truist
   If you do NOT tell us within two (2) business days after you learn of the loss or theft   Contact Center at 1-844-4TRUIST (1-844-487-8478).
   of your access device or the unauthorized transaction, and we can prove we could

                                        How to Reconcile Your Account                                                  Outstanding Checks and Other Debits (Section A)
                                                                                                                Date/Check #         Amount         Date/Check #          Amount
     1.   List the new balance of your account from your latest statement here:

     2.   Record any outstanding debits (checks, check card purchases, ATM
          withdrawals, electronic transactions, etc.) in section A. Record the
          transaction date, the check number or type of debit and the debit amount.
          Add up all of the debits, and enter the sum here:
     3.   Subtract the amount in Line 2 above from the amount in Line 1 above and
          enter the total here:

     4.   Record any outstanding credits in section B. Record the transaction date,
          credit type and the credit amount. Add up all of the credits and enter the
          sum here:                                                                                                   Outstanding Deposits and Other Credits (Section B)
     5.   Add the amount in Line 4 to the amount in Line 3 to find your balance. Enter                            Date/Type          Amount           Date/Type           Amount
          the sum here. This amount should match the balance in your register.
                 For more information, please contact your local Truist branch, visit Truist.com or contact us at 1-844-4TRUIST (1-844-487-8478). MEMBER FDIC


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